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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                                    DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
v.                                             :    Criminal No.: 1:21-mj-00015
                                               :
NICHOLAS R. OCHS                               :
                                               :
                       Defendant.              :


        MOTION TO VACATE HEARING FOR ASCERTAINMENT OF COUNSEL

        COMES NOW Nicholas R. Ochs, by counsel, and for his Motion to Vacate Hearing for

Ascertainment of Counsel, states as follows:

        1. On January 15, 2021, an Initial Appearance/Detention hearing was held in this case. At

that hearing, Mr. Ochs was represented by the Federal Public Defender. (Minute Entry, January

15, 2021)

        2. By Order entered on January 26, 2021, the Court ordered that a Hearing for

Ascertainment of Counsel be held on January 29, 2021, at 3:00 p.m. (Minute Entry, January 26,

2021)

        3. On January 26, 2021, the undersigned counsel entered an appearance in this matter by

written appearance. (DE 13)

        4. Because counsel has entered an appearance for Mr. Ochs, there is no need for a hearing

on January 29, 2021, to ascertain the status of counsel. As such, that hearing should be vacated

as unnecessary.

        5. Counsel for Mr. Ochs has conferred with counsel for the United States who consents to

the relief sought by this motion.
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       A Proposed Order is attached.


                                              NICHOLAS R. OCHS
                                              By Counsel



                                              _____/s/_______________________
                                              Edward B. MacMahon, Jr. (DCB # 411165)
                                              Edward B, MacMahon, Jr., PLC
                                              1600 Pennsylvania Ave, NW, #604
                                              Washington, DC 20037
                                              (202) 775-1307
                                              (540) 687-6366 (facsimile)
                                              ebmjr@macmahon-law.com
                                              Counsel for Nicholas R. Ochs



                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 28, 2021, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will send a notification of such filing (NEF) to all
counsel of record.

                                              _________/s/_________________________
                                              Edward B. MacMahon, Jr. (DCB # 411165)
                                              Edward B, MacMahon, Jr., PLC
                                              1600 Pennsylvania Ave, NW, #604
                                              Washington, DC 20037
                                              (202) 775-1307
                                              (540) 687-6366 (facsimile)
                                              ebmjr@macmahon-law.com
                                              Counsel for Nicholas R. Ochs




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                     IN THE UNITED STATES DISTRICT COURT FOR THE

                                    DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
v.                                          :       Criminal No.: 1:21-mj-00015
                                            :
NICHOLAS R. OCHS                            :
                                            :
                       Defendant.           :


                                     PROPOSED ORDER

       This matter came before the Court on the defendant’s Motion to Vacate Hearing to

Ascertain Counsel.

       It appearing to the Court that Mr. Ochs has retained counsel in this case who has entered

his appearance (DE 13) and that therefore there is no reason to conduct the hearing currently set

for January 29, 2021, at 3:00 p.m., it is hereby ORDERED

       That the Notice of Hearing to Ascertain Counsel is hereby VACATED and counsel and

Mr. Ochs do not have to appear for the hearing set for January 29, 2021 at 3:00 pm.

Entered this ___ day of January 2021.



                                            _____________________________________
                                            Honorable G. Michael Harvey
                                            United States Magistrate Judge
